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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

    UNITED STATES OF AMERICA,
    BARBARA BERNIER and ESE LOVE,

          Plaintiffs,

    v.                                                   Case No: 6:16-cv-970-Orl-37TBS

    INFILAW CORPORATION, CHARLOTTE
    SCHOOL OF LAW, LLC, AMERICAN
    BAR ASSOCIATION and AMERICAN
    BAR ASSOCIATION,

          Defendants.


                                           ORDER

          This case comes before the Court without a hearing on the following motions:

              •   Unopposed Motion of Anne E. Rea to Appear Pro Hac Vice and Written
                  Designation and Consent to Act Pursuant to Local Rule 2.02 (Doc. 92);

              •   Unopposed Motion of Steven J. Horowitz to Appear Pro Hac Vice and
                  Written Designation and Consent to Act Pursuant to Local Rule 2.02 (Doc.
                  93);

              •   Unopposed Motion of Tacy F. Flint to Appear Pro Hac Vice and Written
                  Designation and Consent to Act Pursuant to Local Rule 2.02 (Doc. 94); and

              •   Unopposed Motion of Benjamin I. Friedman to Appear Pro Hac Vice and
                  Written Designation and Consent to Act Pursuant to Local Rule 2.02 (Doc.
                  95).

          The Court has reviewed the motions and finds that Ms. Rea, Mr. Howowitz, Ms.

    Flint and Mr. Friedman meet the requirements of M.D. FLA. R. 2.02(a). Accordingly, the

    motions are GRANTED and these attorneys are admitted to appear pro hac vice on

    behalf of Defendants American Bar Association Council of the Section of Legal Education

    and Admissions to the Bar and the American Bar Association Accreditation Committee of
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    the Section of Legal Education and Admissions to the Bar. Ms. Rea, Mr. Howowitz, Ms.

    Flint and Mr. Friedman are affiliated with Sidley Austin LLP, One South Dearborn,

    Chicago, Illinois 60603.

            The Middle District of Florida utilizes a case management electronic filing system

    (“CM/ECF”). Within ten days of the date of this Order, Ms. Rea, Mr. Howowitz, Ms. Flint

    and Mr. Friedman shall register to participate and docket in CM/ECF or show cause in

    writing within that time frame why they are unable to participate. 1

            Attorneys appearing in this Court pursuant to M.D. FLA. R. 2.02(a) “shall be

    deemed to be familiar with, and shall be governed by, these [local] rules in general,

    including Rule 2.04 hereof in particular; and shall also be deemed to be familiar with and

    governed by the Code of Professional Responsibility and other ethical limitations or

    requirements then governing the professional behavior of members of The Florida Bar.”

    M.D. FLA. R. 2.02(c).

            Attorney Johanna W. Clark, a member of the bar of this Court with offices at 450

    South Orange Avenue, Suite 500, Orlando, Florida 32801-3370 has consented to the

    designation of local counsel. She shall accept service of all notices and papers on behalf

    of the ABA Defendants and is responsible for the progress of the case, including the trial,

    in default of the non-resident attorneys.

            DONE and ORDERED in Orlando, Florida on June 13, 2018.




          1 Counsel shall visit the Court’s website located at www.flmd.uscourts.gov and click on the

    “CM/ECF” tab for more information. The Court has an expectation that counsel will participate in the
    CM/ECF training tutorials provided on the website prior to using the system.



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    Copies furnished to:

          Counsel of Record
          Unrepresented Parties




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